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                       UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF ILLINOIS


 In re:                                        )
                                               )
 John Breugelmans                              )       Case No. 17-29532
                                               )
                                               )       Chapter 7
                        Debtor.                )


                              REPORT OF DEBTOR AUDIT

 Pursuant to 28 U.S.C. § 586 (f)(1), the United States Trustee contracted for an audit to be
 performed of the above-captioned debtors' petition, schedules and other information filed
 by the debtors in this case. In accordance with the Debtor Audit Standards established
 pursuant to Section 603 (a) of the Bankruptcy Abuse Prevention and Consumer Protection
 Act of 2005, McBride, Lock & Associates performed the procedures enumerated in the
 contract between ourselves and the United States Trustee Program to determine whether
 certain items in the bankruptcy petition, schedules, and statements as originally filed by
 John Breugelmans in Bankruptcy Case No 17-29532 contain material misstatements
 concerning the debtors' income, expenditures, or assets.

                                     The auditor finds:
                  No material misstatement                                
                  One or more material misstatements                      
                  The material misstatements are listed on                  
                  the attached List of Material Misstatements.              

 The debtor was responsible for the preparation of the bankruptcy petition, schedules, and
 statements in this case. The United States Trustee Program is responsible for the
 sufficiency of the procedures developed to determine the accuracy, veracity, and
 completeness of the petitions, schedules and other information that the debtor is required
 to provide under 11 U.S.C.§§ 521 and 1322. McBride, Lock & Associates make no
 representation regarding the sufficiency of the procedures either for the purpose for which
 this report has been requested or for any other purpose.

 The analysis and findings contained in this report are intended solely for the information
 and of the United States Trustee Program and parties-in-interest in the subject civil
 bankruptcy proceeding and are not intended to be and should not be used by anyone other
 than these parties. However, this report is a matter of public record and its distribution is
 not limited. The Report is not a legal determination, and the legal effect of the auditor’s
 findings of material misstatement is a question for the Court. Further, the findings
 contained in the report neither require the United States Trustee Program or other related
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 parties in interest to take, nor preclude these parties from taking, legal action in or relating
 to this case, including with respect to matters not discussed in this report.

 Respectfully submitted,




 McBride, Lock & Associates, LLC
 Certified Public Accountants
 1111 Main Street, Suite 900
 Kansas City, Missouri 64105
 (816) 221-4559


 Dated this 8th day of December, 2017.
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                                   List of Material Misstatements


                                                    Amount Reported in        As Found in
                Material Misstatement             Schedules and Statements       Audit
Understatement on Schedule A/B of the Fair Market        $5,500.00            $15,509.34
Value of a single item of personal property.
